   Case 2:18-cv-00091-MHT-SMD Document 102 Filed 01/15/21 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


DARCY CORBITT, et al.,             )
                                   )
      Plaintiffs,                  )
                                   )         CIVIL ACTION NO.
      v.                           )           2:18cv91-MHT
                                   )               (WO)
HAL TAYLOR, in his                 )
official capacity as               )
Secretary of the Alabama           )
Law Enforcement Agency,            )
et al.,                            )
                                   )
      Defendants.                  )

                              JUDGMENT

    In accordance with the opinion entered this date, it

is the ORDER, JUDGMENT, and DECREE of the court as

follows:

    (1) Judgment is entered in favor of plaintiffs Darcy

Corbitt,    Destiny     Clark,    and    Jane    Doe,    and    against

defendants Hal Taylor, Charles Ward, Deena Pregno, and

Jeannie Eastman.

    (2) It is DECLARED that the policy of the Alabama

Law Enforcement Agency entitled “Subject: Changing Sex
   Case 2:18-cv-00091-MHT-SMD Document 102 Filed 01/15/21 Page 2 of 2




on a Driver License Due to Gender Reassignment,” also

known as Policy Order 63, as it has been applied to

plaintiffs Corbitt, Clark, and Doe, is unconstitutional.

    (3) Defendants Taylor, Ward, Pregno, and Eastman are

ENJOINED    and    RESTRAINED      from    failing     to    issue      to

plaintiffs Corbitt, Clark, and Doe new driver licenses

with female sex designations, upon application for such

licenses by them.

    It is further ORDERED that costs are taxed against

defendants Taylor, Ward, Pregno, and Eastman, for which

execution may issue.

    The clerk of the court is DIRECTED to enter this

document on the civil docket as a final judgment pursuant

to Rule 58 of the Federal Rules of Civil Procedure.

    This case is closed.

    DONE, this the 15th day of January, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   2
